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                            EXHIBIT 3
                                                                         Ex. 3
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    6 Facsimile: (310) 275-5697
    7 Attorneys for Y.Y.G.M. SA d.b.a.
      BRANDY MELVILLE
    8
    9                       UNITED STATES DISTRICT COURT
   10                     CENTRAL DISTRICT OF CALIFORNIA
   11
   12 Y.Y.G.M. SA d.b.a. BRANDY                    Case No. 2:19-cv-04618-RGK (JPRx)
      MELVILLE, a Swiss corporation,               Judge: Hon. R. Gary Klausner
   13
                   Plaintiff,
   14                                              PLAINTIFF’S NOTICE OF
            vs.                                    REMOTE DEPOSITION OF
   15                                              MICHAEL MASNICK
      REDBUBBLE, INC., a Delaware
   16 corporation,
                                                   Trial Date: June 30, 2020
   17             Defendant.
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        1429845
                                              -1-              Case No. 2:19-cv-04618-RGK (JPRx)
                  PLAINTIFF’S NOTICE OF REMOTE DEPOSITION OF MICHAEL MASNICK


                                                                                           Ex. 3
Case 2:19-cv-04618-RGK-JPR Document 53-4 Filed 05/15/20 Page 3 of 4 Page ID #:5118




   1 TO ALL PARTIES AND THEIR COUNSEL OF RECORD HEREIN:
   2             PLEASE TAKE NOTICE that, pursuant to Federal Rules of Civil
   3 Procedure 26 and 30, Plaintiff Y.Y.G.M. SA d.b.a. Brandy Melville (“Brandy
   4 Melville”) will take the deposition of Defendant Redbubble, Inc.’s rebuttal expert,
   5 Michael Masnick, beginning at 10:00 a.m. on Thursday, May 14, 2020, by the remote
   6 means of video-teleconferencing (“VTC”) services.
   7             NOTICE IS FURTHER GIVEN that Brandy Melville intends to cause the
   8 proceedings to be recorded both stenographically, including by the instant display of
   9 testimony, before a certified court reporter, and by videotape. Brandy Melville
  10 specifically reserves the right to use the videotape at the time of trial.
  11             NOTICE IS FURTHER GIVEN that the court reporter will also be remote via
  12 VTC services or telephone for the purposes of reporting the proceeding and may or
  13 may not be in the presence of the deponent. In addition, Brandy Melville reserves
  14 the right to utilize instant visual display technology such that the court reporter’s
  15 writing of the proceeding will be displayed simultaneous to their writing of same on
  16 one’s computer, laptop, iPad, tablet, or other type of display device connected to the
  17 court reporter.
  18
  19 DATED: May 7, 2020                        BROWNE GEORGE ROSS LLP
  20                                              Keith J. Wesley
                                                  Ryan Q. Keech
  21                                              Jason Y. Kelly
  22
  23                                           By:
  24                                                      Jason Y. Kelly
                                               Attorneys for Y.Y.G.M. SA d.b.a. BRANDY
  25                                           MELVILLE
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                                                  -2-              Case No. 2:19-cv-04618-RGK (JPRx)
                      PLAINTIFF’S NOTICE OF REMOTE DEPOSITION OF MICHAEL MASNICK


                                                                                                Ex. 3
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   1                                 PROOF OF SERVICE
   2             Y.Y.G.M. SA d.b.a. BRANDY MELVILLE v REDBUBBLE, INC.
                              Case No. 2:19-cv-04618 RGK (JPRx)
   3
       STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
   4
            At the time of service, I was over 18 years of age and not a party to this action.
   5 I am employed in the County of Los Angeles, State of California. My business
     address is 2121 Avenue of the Stars, Suite 2800, Los Angeles, CA 90067.
   6
            On May 7, 2020, I served true copies of the following document described as
   7 PLAINTIFF’S NOTICE OF REMOTE DEPOSITION OF MICHAEL
     MASNICK on the interested parties in this action as follows:
   8
     Joshua M. Masur                              Counsel for Defendant
   9 ZUBER LAWLER                                 REDBUBBLE, INC.
     2000 Broadway Street, Suite 154
  10 Redwood City, CA 94063
     T: 650-434-8538
  11 F: 213-596-5621
     jmasur@zuberlaw.com
  12
     Kenneth B Wilson                             Co-Counsel for Defendant
  13 COASTSIDE LEGAL                              REDBUBBLE, INC.
     455 1st Avenue
  14 Half Moon Bay, CA 94019
     T: 650-440-4211
  15 F: 650-440-4851
     ken@coastsidelegal.com
  16
            BY E-MAIL OR ELECTRONIC TRANSMISSION: On May 7, 2020, I
  17 caused a copy of the document to be sent from e-mail address jkelly@bgrfirm.com to
     the persons at the e-mail addresses listed in the Service List. I did not receive, within
  18 a reasonable time after the transmission, any electronic message or other indication
     that the transmission was unsuccessful.
  19
            I declare under penalty of perjury under the laws of the United States of
  20 America that the foregoing is true and correct and that I am employed in the office of
     a member of the bar of this Court at whose direction the service was made.
  21
            Executed on May 7, 2020, at Moreno Valley, California.
  22
  23
                                                  /s/ Jason Y. Kelly
  24                                              Jason Y. Kelly
  25
  26
  27
  28
       1429845                                                   Case No. 2:19-cv-04618-RGK (FFMx)
                                         PROOF OF SERVICE


                                                                                              Ex. 3
